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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC.;
 SPECIALTY PHYSICIANS OF
 ILLINOIS, LLC,;
 CHRISTIAN MEDICAL &
 DENTAL ASSOCIATIONS;

 - and -

 STATE OF TEXAS;
 STATE OF WISCONSIN;
 STATE OF NEBRASKA;
 COMMONWEALTH OF                                        Civ. Action No. 7:16-cv-00108-O
 KENTUCKY, by and through
 Governor Matthew G. Bevin;
 STATE OF KANSAS; STATE OF
 LOUISIANA; STATE OF
 ARIZONA; and STATE OF                                   OBJECTIONS TO THE
 MISSISSIPPI, by and through                          DECLARATIONS OF CHERYL
 Governor Phil Bryant,                                  NEWCOMB AND ALLISON
                                                     ANDREWS FILED BY PUTATIVE
           Plaintiffs,                               INTERVENORS IN SUPPORT OF
                                                      THEIR RENEWED MOTION TO
 v.                                                          INTERVENE

 ALEX M. AZAR, II, Secretary of the
 United States Department of Health
 and Human Services; and UNITED
 STATES DEPARTMENT OF HEALTH
 AND HUMAN SERVICES,

           Defendants.



       Plaintiffs file these Objections to the Declarations of Cheryl Newcomb and

Allison Andrews submitted by the putative intervenors in support of their renewed

motion to intervene.




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                                    LEGAL STANDARD

       While a court must accept as true all non-conclusory allegations made in

support of a motion to intervene, those allegations, and any declarations in support,

must contain admissible evidence. Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d

810, 819–20 (9th Cir. 2001). Thus, Plaintiffs make the following objections to the

Declarations of Cheryl Newcomb and Allison Andrews:

                              OBJECTIONS TO EVIDENCE

   A. Declaration of Cheryl Newcomb


                       TESTIMONY                   OBJECTION     EXPLANATION
 Objection     “If Plaintiffs succeed in           Lacks      Witness does not testify
 No. 1         permanently striking down           foundation about the basis for her
               the U.S. Department of                         conclusory testimony
               Health and Human                               regarding the beliefs of
               Service’s final rule, . . . the                unidentified third
               ACLU of Texas’s members                        parties. Fed. R. Evid.
               will be stripped of critical                   601–602.
               protections from
               discrimination in
               healthcare.” Newcomb ¶ 3.

 Objection     “If Plaintiffs succeed in           Calls for          Witness speculates
 No. 2         permanently striking down           speculation        about the beliefs of
               the U.S. Department of                                 unidentified third
               Health and Human                                       parties without
               Service’s final rule, . . . the                        providing a basis for
               ACLU of Texas’s members                                her testimony. Fed. R.
               will be stripped of critical                           Evid. 601–602.
               protections from
               discrimination in
               healthcare.” Newcomb ¶ 3.

 Objection     “If Plaintiffs succeed in           Hearsay            Witness relies on
 No. 3         permanently striking down                              beliefs held and
               the U.S. Department of                                 statements made by
               Health and Human                                       unidentified third
               Service’s final rule, . . . the                        parties, and offers
               ACLU of Texas’s members                                these statements for
               will be stripped of critical                           the truth of the matter


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                      TESTIMONY                    OBJECTION             EXPLANATION
               protections from                                       asserted. Fed. R. Evid.
               discrimination in                                      801–802.
               healthcare.” Newcomb ¶ 3.

 Objection     “The ACLU of Texas has              Lacks              Witness does not testify
 No. 3         multiple members who are            foundation         about the basis for her
               transgender and seeking                                conclusory testimony
               transition-related care for                            regarding the beliefs of
               gender dysphoria.”                                     unidentified third
               Newcomb ¶ 4.                                           parties. Fed. R. Evid.
                                                                      601–602.

 Objection     “The ACLU of Texas has              Calls for          Witness speculates
 No. 4         multiple members who are            speculation        about the beliefs of
               transgender and seeking                                unidentified third
               transition-related care for                            parties without
               gender dysphoria.”                                     providing a basis for
               Newcomb ¶ 4.                                           her testimony. Fed. R.
                                                                      Evid. 601–602.

 Objection     “The ACLU of Texas has              Hearsay            Witness relies on
 No. 5         multiple members who are                               beliefs held and
               transgender and seeking                                statements made by
               transition-related care for                            unidentified third
               gender dysphoria.”                                     parties, and offers
               Newcomb ¶ 4.                                           these statements for
                                                                      the truth of the matter
                                                                      asserted. Fed. R. Evid.
                                                                      801–802.

 Objection     “For example, one member            Lacks              Witness does not testify
 No. 6         who is insured through              foundation         about the basis for her
               Texas Medicaid’s Star Plus                             conclusory testimony
               plan requires medically                                regarding the beliefs of
               necessary surgery related                              an unidentified third
               to his transition, but that                            party. Fed. R. Evid.
               surgery is not covered                                 601–602.
               under his Medicaid plan.”
               Newcomb ¶ 4.

 Objection     “For example, one member            Calls for          Witness speculates
 No. 7         who is insured through              speculation        about the beliefs of an
               Texas Medicaid’s Star Plus                             unidentified third party



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                       TESTIMONY                   OBJECTION             EXPLANATION
               plan requires medically                                without providing a
               necessary surgery related                              basis for her testimony.
               to his transition, but that                            Fed. R. Evid. 601–602.
               surgery is not covered
               under his Medicaid plan.”
               Newcomb ¶ 4.

 Objection     “For example, one member            Hearsay            Witness relies on
 No. 8         who is insured through                                 beliefs held and
               Texas Medicaid’s Star Plus                             statements made by an
               plan requires medically                                unidentified third
               necessary surgery related                              party, and offers these
               to his transition, but that                            statements for the
               surgery is not covered                                 truth of the matter
               under his Medicaid plan.”                              asserted. Fed. R. Evid.
               Newcomb ¶ 4.                                           801–802.

 Objection     “The ACLU of Texas has              Lack of            Witness does not testify
 No. 9         multiple members who                foundation         about the basis for her
               anticipate requiring                                   conclusory testimony
               reproductive care within                               regarding the beliefs of
               the next year.” Newcomb ¶                              unidentified third
               5.                                                     parties. Fed. R. Evid.
                                                                      601–602.

 Objection     “The ACLU of Texas has              Calls for          Witness speculates
 No. 10        multiple members who                speculation        about the beliefs of
               anticipate requiring                                   unidentified third
               reproductive care within                               parties without
               the next year.” Newcomb ¶                              providing a basis for
               5.                                                     her testimony. Fed. R.
                                                                      Evid. 601–602.

 Objection     “The ACLU of Texas has              Hearsay            Witness relies on
 No. 11        multiple members who                                   beliefs held and
               anticipate requiring                                   statements made by
               reproductive care within                               unidentified third
               the next year.” Newcomb ¶                              parties, and offers
               5.                                                     these statements for
                                                                      the truth of the matter
                                                                      asserted. Fed. R. Evid.
                                                                      801–802.




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                      TESTIMONY               OBJECTION     EXPLANATION
 Objection     “For example, one member Lacks            Witness does not testify
 No. 12        has informed me that she       foundation about the basis for her
               has a history of high-risk                conclusory testimony
               pregnancies requiring                     regarding the beliefs of
               emergency miscarriage                     an unidentified third
               management, including                     party. Fed. R. Evid.
               abortion care. This member                601–602.
               terminated a past
               pregnancy after being
               informed by her doctor
               that, because of serious
               hemorrhaging, carrying the
               pregnancy to term would
               put her own life at risk.
               This past year, she had a
               pregnancy loss, as well as a
               tubal pregnancy that
               required termination. She
               remains fertile and could be
               at serious risk if a public or
               religiously affiliated
               hospital denied her
               emergency healthcare.”
               Newcomb ¶ 5.

 Objection     “For example, one member            Calls for          Witness speculates
 No. 13        has informed me that she            speculation        about the beliefs of an
               has a history of high-risk                             unidentified third party
               pregnancies requiring                                  without providing a
               emergency miscarriage                                  basis for her testimony.
               management, including                                  Fed. R. Evid. 601–602.
               abortion care. This member
               terminated a past
               pregnancy after being
               informed by her doctor
               that, because of serious
               hemorrhaging, carrying the
               pregnancy to term would
               put her own life at risk.
               This past year, she had a
               pregnancy loss, as well as a
               tubal pregnancy that
               required termination. She


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                      TESTIMONY               OBJECTION                   EXPLANATION
               remains fertile and could be
               at serious risk if a public or
               religiously affiliated
               hospital denied her
               emergency healthcare.”
               Newcomb ¶ 5.

 Objection     “For example, one member Hearsay                       Witness relies on
 No. 14        has informed me that she                               beliefs held and
               has a history of high-risk                             statements made by an
               pregnancies requiring                                  unidentified third
               emergency miscarriage                                  party, and offers these
               management, including                                  statements for the
               abortion care. This member                             truth of the matter
               terminated a past                                      asserted. Fed. R. Evid.
               pregnancy after being                                  801–802.
               informed by her doctor
               that, because of serious
               hemorrhaging, carrying the
               pregnancy to term would
               put her own life at risk.
               This past year, she had a
               pregnancy loss, as well as a
               tubal pregnancy that
               required termination. She
               remains fertile and could be
               at serious risk if a public or
               religiously affiliated
               hospital denied her
               emergency healthcare.”
               Newcomb ¶ 5.



   B. Declaration of Allison Andrews



                      TESTIMONY                    OBJECTION     EXPLANATION
 Objection     “RCGA has several                   Lacks      Witness does not testify
 No.15         members residing in                 foundation about the basis for her
               Nebraska and surrounding                       conclusory testimony
               states who have a medical                      regarding the beliefs of


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                      TESTIMONY                    OBJECTION             EXPLANATION
               need for treatment related                             unidentified third
               to gender transition and                               parties. Fed. R. Evid.
               who anticipate needing                                 601–602.
               treatment over the next
               year.” Andrews ¶ 3.

 Objection     “RCGA has several                   Calls for          Witness speculates
 No. 16        members residing in                 speculation        about the beliefs of
               Nebraska and surrounding                               unidentified third
               states who have a medical                              parties without
               need for treatment related                             providing a basis for
               to gender transition and                               her testimony. Fed. R.
               who anticipate needing                                 Evid. 601–602.
               treatment over the next
               year.” Andrews ¶ 3.

 Objection     “RCGA has several                   Hearsay            Witness relies on
 No. 17        members residing in                                    beliefs held and
               Nebraska and surrounding                               statements made by
               states who have a medical                              unidentified third
               need for treatment related                             parties, and offers
               to gender transition and                               these statements for
               who anticipate needing                                 the truth of the matter
               treatment over the next                                asserted. Fed. R. Evid.
               year.” Andrews ¶ 3.                                    801–802.

 Objection     “At least one member                Lacks              Witness does not testify
 No. 18        requires medically                  foundation         about the basis for her
               necessary surgery related                              conclusory testimony
               to their transition, but is                            regarding the beliefs of
               insured through the                                    an unidentified third
               Nebraska Medicaid                                      party. Fed. R. Evid.
               Program, which does not                                601–602.
               provide insurance coverage
               for surgery related to
               gender transition.”
               Andrews ¶ 3.

 Objection     “At least one member                Calls for          Witness speculates
 No. 19        requires medically                  speculation        about the beliefs of an
               necessary surgery related                              unidentified third party
               to their transition, but is                            without providing a
               insured through the


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                      TESTIMONY                    OBJECTION             EXPLANATION
               Nebraska Medicaid                                      basis for her testimony.
               Program, which does not                                Fed. R. Evid. 601–602.
               provide insurance coverage
               for surgery related to
               gender transition.”
               Andrews ¶ 3.

 Objection     “At least one member                Hearsay            Witness relies on
 No. 20        requires medically                                     beliefs held and
               necessary surgery related                              statements made by an
               to their transition, but is                            unidentified third
               insured through the                                    party, and offers these
               Nebraska Medicaid                                      statements for the
               Program, which does not                                truth of the matter
               provide insurance coverage                             asserted. Fed. R. Evid.
               for surgery related to                                 801–802.
               gender transition.”
               Andrews ¶ 3.

 Objection     “If Plaintiffs succeed in   Lacks                      Witness does not testify
 No. 21        striking down the U.S.      foundation                 about the basis for her
               Department of Health and                               conclusory testimony
               Human Service’s final rule,                            regarding the beliefs of
               . . . RCGA reasonably fears                            unidentified third
               that its members will be                               parties. Fed. R. Evid.
               discriminated against in                               601–602.
               healthcare based on their
               gender identity. Its
               members have already been
               stripped of critical
               protections.” Andrews ¶ 5.

 Objection     “If Plaintiffs succeed in   Calls for                  Witness speculates
 No. 22        striking down the U.S.      speculation                about the beliefs of
               Department of Health and                               unidentified third
               Human Service’s final rule,                            parties without
               . . . RCGA reasonably fears                            providing a basis for
               that its members will be                               her testimony. Fed. R.
               discriminated against in                               Evid. 601–602.
               healthcare based on their
               gender identity. Its
               members have already been



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                      TESTIMONY                    OBJECTION              EXPLANATION
               stripped of critical
               protections.” Andrews ¶ 5.

 Objection     “If Plaintiffs succeed in   Hearsay                    Witness relies on
 No. 23        striking down the U.S.                                 beliefs held and
               Department of Health and                               statements made by
               Human Service’s final rule,                            unidentified third
               . . . RCGA reasonably fears                            parties, and offers
               that its members will be                               these statements for
               discriminated against in                               the truth of the matter
               healthcare based on their                              asserted. Fed. R. Evid.
               gender identity. Its                                   801–802.
               members have already been
               stripped of critical
               protections.” Andrews ¶ 5.



                                        CONCLUSION

       Plaintiffs respectfully request that the Court sustain these objections, deem

the Declarations of Cheryl Newcomb and Allison Andrews inadmissible and omit the

evidence when evaluating the putative intervenors’ motion to intervene.

       Respectfully submitted this the 25th day of February, 2019.

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                                               STATE OF KANSAS; STATE OF
                                               LOUISIANA; STATE OF ARIZONA; and
                                               STATE OF MISSISSIPPI, by and through
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                               CERTIFICATE OF SERVICE
       I hereby certify that on February 25, 2019, I electronically filed the foregoing

document through the Court’s ECF system, which automatically serves notification

of the filing on counsel for all parties.

                                                  /s/ David J. Hacker
                                                  DAVID J. HACKER




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